Case 2:04-bk-60904              Doc 357        Filed 07/14/16 Entered 07/14/16 11:45:16      Desc Main
                                              Document      Page 1 of 8


                                  UNITED STATES BANKRUPCY COURT
                                    SOUTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

 In re:                                                   :        Case No.: 04-60904
                                                          :
 COLUMBUS MICROFILM, INC.                                 :        Chapter 7 (Converted)
                                                          :
                               Debtor(s).                 :        Judge Preston

       SUPPLEMENT TO MEMORANDUM IN OPPOSITION FILED BY REG MARTIN
      TO AMENDED MOTION TO RE-OPEN CASE TO ADMINISTER ESTATE ASSETS
                                (DOC. 349)

            On March 11, 2016, Angela R. Granata (“Ms. Granata”) filed the Amended Motion to Re-

 Open Case to Administer Estate Assets (the “Motion”). On April 4, 2016, Reg Martin, former

 Receiver of the Debtor (“Mr. Martin”), filed a Memorandum in Opposition to the Motion (Doc.

 351) (the “Objection”). A hearing is scheduled for July 21, 2016, at 2:00 p.m. to hear oral

 arguments on the Motion.

            The Objection argues that the claims raised in the Motion are barred by the doctrines of res

 judicata and laches, and that the Real Estate 1, and that the Real Estate and the interest in the Land

 Contract were not property of the bankruptcy estate. Subsequent to the filing of the Objection,

 Mr. Martin recently obtained, from the title company that handled the closing, documentation that

 supports his argument. At the closing on the sale, the title company specifically required that the

 Debtor disclaim any interest in the Real Estate. The Debtor, through its attorney, did in fact

 disclaim any such interest. Attached hereto as Exhibit A is the Notice of Release of Claim of

 Interest signed by counsel for the Debtor which was received on July 20th from Mr. Pettigrew’s

 office and then forwarded to the title company. The attached Exhibit A substantiates the position




 1
     Capitalized terms have the same definitions as set forth in the Objection.

                                                              1
Case 2:04-bk-60904       Doc 357      Filed 07/14/16 Entered 07/14/16 11:45:16           Desc Main
                                     Document      Page 2 of 8


 of the Debtor that is reflected in the Schedules of Assets and Liabilities where neither the Real

 Estate nor the Land Contract is listed as an asset of the Debtor.

        Based upon the foregoing, it is respectfully requested that the Court issue an Order denying

 the Motion and that the Court grant such other and further relief as is appropriate.

                                       Respectfully submitted,


                                          /s/ A. C. Strip
                                       A.C. Strip (0018262)
                                       Strip, Hoppers, Leithart, McGrath & Terlecky Co. LPA
                                       575 South Third Street
                                       Columbus, Ohio 43215
                                       (614) 228-6345 (telephone)
                                       (614) 228-6369 (facsimile)
                                       Email: acs@columbuslawyer.net
                                       Attorney for Reg Martin of Martin Management,
                                       Former Receiver for Columbus Microfilm, Inc.




                                                  2
Case 2:04-bk-60904   Doc 357    Filed 07/14/16 Entered 07/14/16 11:45:16   Desc Main
                               Document      Page 3 of 8
Case 2:04-bk-60904        Doc 357     Filed 07/14/16 Entered 07/14/16 11:45:16              Desc Main
                                     Document      Page 4 of 8


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on July 14, 2016, a true and accurate copy of the
 foregoing SUPPLEMENT TO MEMORANDUM IN OPPOSITION TO MOTION TO RE-OPEN
 CASE TO ADMINISTER ESTATE ASSETS (DOC. 349) was served on the following registered
 ECF participants, electronically through the court’s ECF system, at the email address registered
 with the Court:

 Asst US Trustee (Col)
 James C Carpenter
 Stewart H Cupps
 Steven L Diller
 Brian M Gianangeli
 Mark W Iannotta
 Nora E Jones
 Andrew M Malek
 Larry J McClatchey
 Dennis J Morrison
 David M Whittaker




 And on the following by ordinary U.S. mail, postage prepaid, on the Debtor, the Trustee and all
 creditors and parties in interest as reflected on the attached mailing list, unless served through ECF.



                                                         /s/ A. C. Strip
                                                        A. C. Strip (0018262)




                                                   3
              Case
Label Matrix for  local 2:04-bk-60904
                        noticing        Doc 357
                                             ColumbusFiled  07/14/16
                                                       Microfilm Inc.    Entered 07/14/16 ESS
                                                                                          11:45:16       Desc Main
                                                                                              Staffing Resources, Inc.
0648-2                                            Document
                                             753 Harmon Ave           Page 5 of 8         c/o Nora E. Jones
Case 2:04-bk-60904                            Columbus, OH 43223-2411                       Gamble Hartshorn Johnson, LLC
Southern District of Ohio                                                                   One East Livingston Avenue
Columbus                                                                                    Columbus, OH 43215-5700
Sun Apr 3 12:55:04 EDT 2016
Excel Temporaries, Inc.                       Internal Revenue Service                      JPMorgan Chase Bank, NA
c/o Nora E. Jones                             Internal Revenue Service                      1111 Polaris Parkway
Gamble Hartshorn Johnson, LLC                 U.S. Attorney’s Office                        Mail Code OH1-0152
One East Livingston Avenue                    303 Marconi Boulevard, Suite 200              Columbus, OH 43240-2031
Columbus, OH 43215-5700                       Columbus, OH 43215-2326

Ohio Bureau of Workers’ Compensation          Ohio Mulch Supply, Inc.                       Unizan Bank, National Association
c/o Brian M. Gianangeli, Esq.                 c/o Laura M. Zaremski, Esq.                   c/o Dennis J. Morrison, Esq.
The Law Office of Charles Mifsud, LLC         100 South Third Street                        2006 Kenny Road
326 South HIgh Street                         Columbus, OH 43215-4214                       Columbus, OH 43221-3502
Suite 201
Columbus, OH 43215-4522
Weber Holdings Universal, Ltd.                AEP                                           AMERICAN EXPRESS
c/o David M. Whittaker, Esq.                  PO BOX 2021                                   11340 MONTGOMERY RD
100 South Third Street                        ROANOKE VA 24022-2121                         CINCINNATI OH 45249-2385
Columbus, OH 43215-4214


ANGELA R GRANATA                              Angela Granata                                Asst US Trustee (Col)
1922 NEW MARKET DRIVE                         c/o John E. Decker                            Office of the US Trustee
GROVE CITY OH 43123-1659                      4110 Indianola Avenue, Unit B                 170 North High Street
                                              Columbus, Ohio 43214-2850                     Suite 200
                                                                                            Columbus, OH 43215-2417

BANK OF AMERICA                               BANK ONE                                      (p)CAPITAL ONE
11340 MONTGOMERY RD                           NATIONAL GEOGRAPHIC VISA                      PO BOX 30285
CINCINNATI OH 45249-2385                      PO BOX 94014                                  SALT LAKE CITY UT 84130-0285
                                              PALATINE IL 60094-4014


CITI BUSINESS CARD                            CITIGROUP CARD                                CITY OF COLUMBUS
PO BOX 6309                                   PO BOX 6062                                   DIVISION OF INCOME TAX
THE LAKES NV 88901-6309                       SIOUX FALLS SD 57117-6062                     50 W GAY ST 4TH FL
                                                                                            COLUMBUS OH 43215-9070


Capital Plumbing & Mechanical Inc             Celerity Networks LLC                         (p)COLUMBIA GAS
5721 Westbourne Ave                           3455 Mill Run Dr Suite 300                    290 W NATIONWIDE BLVD 5TH FL
Columbus OH 43213-1449                        Hilliard OH 43026-9082                        BANKRUPTCY DEPARTMENT
                                                                                            COLUMBUS OH 43215-4157


(p)US BANK                                    ESS STAFFING RESOUCES INC                     ESS STAFFING RESOURCES INC
PO BOX 5229                                   C/O NORA E JONES                              C/O NORA E JONES
CINCINNATI OH 45201-5229                      ONE E LIVINGSTON AVE                          ONE E LIVINGSTON AVE
                                              COLUMBUS OH 43215-7700                        COLUMBUS OH 43215-7700


EXCEL TEMPORARIES INC                         EXCEL TEMPORARY                               FIRST NATIONAL BANK OF OMAHA
C/O NORA E JONES                              550 E TOWN STREET                             PO BOX 2951
ONE E LIVINGSTON AVE                          COLUMBUS OH 43215-4802                        OMAHA NE 68103-2951
COLUMBUS OH 43215-7700
FIRST NATIONAL Case
               BANK OF 2:04-bk-60904
                       OMAHA                 Doc 357     FiledCARD
                                                  FLEET CREDIT 07/14/16 Entered 07/14/16 GBQ
                                                                                         11:45:16
                                                                                             PARTNERS Desc Main
PO BOX 3351                                            Document
                                                  PO BOX 17192        Page 6 of 8        PO BOX 182108
OMAHA NE 68103-0351                               WILMINGTON DE 19850-7192                   COLUMBUS OH 43218-2108



INSURANCE OF CENTRAL OHIO                         (p)INTERNAL REVENUE SERVICE                Jan Pro of Columbus
165 W MAIN STREET                                 CENTRALIZED INSOLVENCY OPERATIONS          C/O Dana & Pariser Co LPA
NEW ALBANY OH 43054-9227                          PO BOX 7346                                800 E Broad St
                                                  PHILADELPHIA PA 19101-7346                 Columbus OH 43205-1015


John Decker                                       (p)OHIO BUREAU OF WORKERS COMPENSATION     Ohio Casualty Insurance Co.
3980 Shattuck                                     LAW SECTION BANKRUPTCY UNIT                c/o RMS Bankruptcy Recovery Services
Columbus, Ohio 43220-4172                         P O BOX 15567                              P.O. Box 5126
                                                  COLUMBUS OH 43215-0567                     Timonium, Maryland 21094-5126


Ohio Department of Job and Family Services        (p)OHIO DEPARTMENT OF TAXATION             PITNEY BOWES CREDIT CORPORATION
P.O. Box 182404                                   BANKRUPTCY DIVISION                        ATTN RECOVERY DEPT
Columbus, Ohio 43218-2404                         30 EAST BROAD STREET                       27 WATERVIEW DR
                                                  COLUMBUS OHIO 43215-3414                   SHELTON CT 06484-4361


REMEDY STAFFING                                   RICHARD CORDAY                             RONK BROTHERS
101 ENTERPRISE                                    FRANKLIN CTY TREASURER                     3756 AGLER RD
SUITE 100                                         373 S HIGH STREET                          COLUMBUS OH 43219-3605
ALISO VIEJO CA 92656-2604                         COLUMBUS OH 43215-6306


ROSE M GRANATA                                    Reg Martin                                 Roger Hummell
1922 NEW MARKET DRIVE                             c/o Mark W. Iannotta                       5176 Mapleridge Dr
GROVE CITY OH 43123-1659                          Strip Hoppers Leithart McGrath& Terlecky   Columbus OH 43232-2882
                                                  575 S. Third Street
                                                  Columbus, OH 43215-5755

SONITROL OF CENTRAL OHIO                          SOUTHLAND STORAGE                          Southland Self Storage, LLC
PO BOX 662                                        3391 S HIGH STREET                         c/o Brenda K. Bowers, Esq.
COLUMBUS OH 43216-0662                            COLUMBUS OH 43207-3624                     Vorys, Sater, Seymour and Pease LLP
                                                                                             52 East Gay Street, P.O. Box 1008
                                                                                             Columbus, OH 43216-1008

(p)SPRINT NEXTEL CORRESPONDENCE                   UNITED HEALTH INSURANCE                    UNITED HEALTHCARE INSURANCE CO
ATTN BANKRUPTCY DEPT                              4316 RICE LAKE RD                          450 COLUMBUS BLVD
PO BOX 7949                                       DULUTH MN 55811-4012                       PO BOX 150450
OVERLAND PARK KS 66207-0949                                                                  HARTFORD CT 06115-0450


UNITED STATES TRUSTEE                             UNIZAN BANK                                UNIZAN BANK
170 N HIGH STREET STE 200                         PO BOX 3510                                PO BOX 4658
COLUMBUS OH 43215-2417                            ZANESVILLE OH 43702-3510                   ZANESVILLE OH 43702



UNIZAN BANK NATIONAL ASSOCIATION                  US BANK ELAN                               US SOURCECORP
C/O DENNIS J MORRISON                             PO BOX 5229                                300 PRICE GEORGES BLVD
MEAN BICHIMER BURKHOLDER & BAKER                  CINCINNATI OH 45201-5229                   UPPER MARLBORO MD 20774-7409
2006 KENNY RD
COLUMBUS OH 43221-3502
              Case 2:04-bk-60904
United States Trustee                         Doc 357     Filed 07/14/16 Entered 07/14/16 Angela
                                                   Waste Management                       11:45:16
                                                                                                 R GranataDesc Main
                                                        Document           Page
                                                   2421 W Peoria Ave Suite 110  7 of 8    President of Columbus Microfilm, Inc.
                                                      Phoenix AZ 85029-4942                                1922 New Market Drive
                                                                                                           Grove City, OH 43123-1659


Grady L Pettigrew Jr.                                 John E Decker                                        John E. Decker
Law Office of Grady L. Pettigrew, Jr.                 3980 Shattuck                                        4110 Indianola Avenue, Unit B
502 South Third Street                                Columbus, Oh 43220-4172                              Columbus, Oh 43214-2850
Columbus, OH 43215-5702


Larry J McClatchey                                    Reg Martin
65 East State Street                                  Martin Management Services, Inc.
Suite 1800                                            180 East Broad Street
Columbus, OH 43215-4295                               28th Floor
                                                      Columbus, OH 43215-3707



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAPITAL ONE                                           Columbia Gas of Ohio Inc                             ELAN FINANCIAL
PO BOX 85015                                          200 Civic Center Dr 11th                             PO BOX 108
RICHMOND VA 23285                                     Columbus OH 43215                                    ST LOUIS MO 63166-9801



INTERNAL REVENUE SERVICE                              (d)INTERNAL REVENUE SERVICE                          (d)INTERNAL REVENUE SERVICES
550 MAIN ST RM 3525                                   SPECIAL PROCEDURES BRANCH                            550 MAIN ST RM 3525
CINCINNATI OH 45201                                   PO BOX 1579                                          CINCINNATI OH 45201
                                                      CINCINNATI OH 45201


OHIO BUREAU OF WORKERS COMPENSATION                   (d)Ohio Bureau Of Workers Compensation               (d)Ohio Bureau of Workers Compensation
LEGAL OPERATIONS BANKRUPTCY UNIT                      PO Box 15567                                         Law Section Bankruptcy Unit
30 W SPRING ST                                        Columbus OH 43215                                    PO Box 15567
PO BOX 15567                                                                                               Columbus, OH 43215
COLUMBUS OH 43215

Ohio Department of Taxation                           Sprint-Nextel Corporation
30 E Broad St                                         Attn: Bankruptcy
Columbus OH 43215                                     PO Box 172408
                                                      Denver, CO 80217-2408




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ohio Department of Job & Family Services           (u)Ohio Department of Taxation                       (u)The Huntington National Bank
(d)ESS StaffingCase   2:04-bk-60904
                Resources, Inc.                 Doc 357
                                                     (d)ExcelFiled  07/14/16
                                                               Temporaries, Inc. Entered 07/14/16 (u)OHIO
                                                                                                  11:45:16       Desc
                                                                                                          BUREAU OF      Main
                                                                                                                    WORKERS’ COMPENSATION
c/o Nora E. Jones                                         Document
                                                     c/o Nora E. Jones        Page 8 of 8
Gamble Hartshorn Johnson, LLC                          Gamble Hartshorn Johnson, LLC
One East Livingston Avenue                             One East Livingston Avenue
Columbus, OH 43215-5700                                Columbus, OH 43215-5700

(u)United States Trustee, 170 N High St, Room          (u)Bradford Eldridge                           End of Label Matrix
                                                                                                      Mailable recipients   67
                                                                                                      Bypassed recipients    8
                                                                                                      Total                 75
